                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                              )    Chapter 11
                                                    )
TSA WD HOLDINGS, INC., et al.,1                     )    Case No. 16-10527 (MFW)
                                                    )
                                  Debtors.          )    (Jointly Administered)
                                                    )
                                                    )    Objection Deadline: February 3, 2021 at 4:00 p.m. (ET)
                                                    )    Hearing Date: February 16, 2021 at 10:30 a.m. (ET)

          FOURTEENTH INTERIM AND FINAL FEE APPLICATION
 OF BDO CONSULTING, A DIVISION OF BDO USA, LLP AS FINANCIAL ADVISOR
TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ALLOWANCE OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR (I) THE
   INTERIM PERIOD FROM NOVEMBER 1, 2019 THROUGH AND INCLUDING
     JANUARY 13, 2021 AND (II) THE FINAL PERIOD FROM MARCH 13, 2016
              THROUGH AND INCLUDING JANUARY 13, 2021


                                                               BDO Consulting, a Division of BDO
    Name of Applicant:                                         USA, LLP

    Authorized To Provide                                      Official Committee of Unsecured
    Professional Services to:                                  Creditors


                                                               Order Entered May 23, 2016,
    Date of Retention:                                         Effective as of March 13, 2016

    Interim Period for which Compensation and
    Expense Reimbursement is sought (the “Fourteenth
    Interim Period”):                                November 1, 2019 – January 13, 2021
    Interim Amount of Compensation Sought
    as actual, reasonable and necessary for the
    Fourteenth Interim Period:                                 $7,087.50
    Interim Amount of Expense Reimbursement
    Sought as actual, reasonable and necessary for the
    Fourteenth Interim Period):                                $0.00


1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSA WD
Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); TSA WD, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift
Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-captioned
Debtors is located at 1050 West Hampden Avenue, Englewood, Colorado 80110.
 Final Period for which Compensation and
 Reimbursement is sought (the “Final Period” ):             March 13, 2016 – January 13, 2021
 Final Amount of Compensation sought as Actual,
 Reasonable and Necessary for the Final Period:             $1,143,018.82
 Final Amount of Expense Reimbursement sought
 as Actual, Reasonable and Necessary for the Final
 Period:                                                    $4,802.15


This is a:     monthly X        interim X      final application

If this is not the first application filed, disclose the following for each prior application:

                                                       Requested                      Approved
  #     Date Filed;       Period Covered            Fees       Expenses           Fees        Expense
        Docket No.
  1      08/08/16;       03/13/16 – 05/31/16      $ 713,409.50     $2,281.95    $708,797.50    $2,257.95
           2740
  2      10/24/16;       06/01/16 – 08/31/16        402,797.50      3,344.16     401,263.00       2,455.60
           3116
  3      03/17/17;       09/01/16 – 11/30/16         28,444.00        38.40       28,444.00         38.40
           3430
  4      05/22/17;       12/01/16 – 03/31/17         65,589.00        36.70       65,589.00         36.70
           3622
  5      08/15/17;       04/01/17 – 06/30/17         10,313.00          0.00      10,313.00           0.00
           3769
  6      11/30/17;       07/01/17 – 10/31/17         15,647.00        13.50       15,647.00         13.50
           3915
  7      02/13/18;       11/01/17 – 01/31/18            8,913.50        0.00        8,913.50          0.00
           4016
  8      05/25/18;       02/01/18 – 04/30/18            6,211.00        0.00        6,211.00          0.00
           4129
  9      09/21/18;       05/01/18 – 07/31/18            5,240.50        0.00        5,240.50          0.00
           4258
  10     12/17/18;       08/31/18 – 10/31/18            4,859.00        0.00        4,859.00          0.00
           4370
  11     06/14/19;       11/01/18 – 04/30/19            9,396.50        0.00        9,396.50          0.00
           4517
  12     09/05/19;       05/01/19 – 07/31/19            4,204.00        0.00        4,204.00          0.00
           4585
  13     01/02/20;       08/01/19 – 10/31/19            3,299.00        0.00        2,639.20          0.00
           4667
                      TOTAL                      $1,278,323.50     $5,714.71   $1,272,177.00     $4,802.15




                                                  -2-
                            HOURS BY PROFESSIONAL WITH BLENDED RATE
                              FOR THE FOURTEENTH INTERIM PERIOD

               Professional                    Position                         Hours          Rate            Amount
        D.B.   DAVID BERLINER                  PARTNER                            7.0       $715.00           $5,005.00
        M.M.   MICHELE MICHAELIS               MANAGING DIRECTOR                  3.5       $595.00            2,082.50
                                                            Total:               10.5                         $7,087.50
                                                                    Blended Rate:              $675.00

                                 COMPENSATION BY PROJECT CATEGORY
                                 FOR THE FOURTEENTH INTERIM PERIOD

        CODE     PROJECT CATEGORY                                                             Hours          Amount
          3      Communications with Creditors Committee Counsel
          4      Retention / Fee Applications                                                      1.0          $715.00
          7      Communication with Debtors or Debtors Professionals                               1.8         1,227.00
         10      Business Analysis: Historic and Current                                           1.0           595.00
         11      Motions and Objections                                                            3.9         2,680.50
         16      Claims Administration and Objections                                              2.8         1,870.00
                                                                                TOTAL:            10.5        $7,087.50

           HOURS BY PROFESSIONAL WITH BLENDED RATE FOR THE FINAL PERIOD
         Professional                          Position                         Hours                Rate2            Amount
D.B.     DAVID BERLINER                        PARTNER                           527.9              680.77          359,379.50
M.M.     MICHELE MICHAELIS                     MANAGING                          551.1              570.37          314,331.75
                                               DIRECTOR
J.C.     JOE CASHEL                            MANAGING                          213.0              491.17          104,618.25
                                               DIRECTOR
M.E.     MICHAEL EDELSCHICK                    SENIOR MANAGER                    107.3              395.00           42,383.50
W.T.     WOLFGANG TSOUTSOURIS                  MANAGER                           697.5              375.00          261,562.50
R.Q.     RABIA QURESHI                         SENIOR                             93.3              275.00           25,657.50
E.K.     ERIC KOGUT                            SENIOR                            302.0              260.00           78,520.00
 J.H.    JULIE HERZOG                          SENIOR                             26.4              235.00            6,204.00
 J.R.    JOE RICHMAN                           SENIOR                             36.3              260.00            9,438.00
N.V.     NAUSHON VANDERHOOP                    SENIOR                              2.5              200.00              500.00
C.A.     CHARLES ALVAREZ                       ASSOCIATE                          26.3              123.92            3,259.00
D.Bo.    DANIEL BOCHNER                        ASSOCIATE                          55.5              185.00           10,267.50

    2
      These rates are BDO’s standard hourly rates for accounting and consulting services. All hourly rates are adjusted
    by BDO on a periodic basis. Non-working travel time is billed at ½ of the standard hourly billing rate and is reflected
    in the total fees billed.


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         Professional                 Position                     Hours             Rate2        Amount
M.H.     MARVIN HOHERTZ               ASSOCIATE                      47.8           195.00        9,321.00
A.M.     ADAM MORGAN                  ASSOCIATE                     252.3           196.45      49,564.50
N.W.     NICK WEBER                   ASSOCIATE                      57.8           180.00       10,404.00
         SUBOTOTAL                                                2,997.0                    1,285,411.00
         ADJUSTMENT                   [Dkt No. 3153; 11/01/16]                               (136,245.68)
         FEE EXAMINER                 1ST INTERIM                                               (4,612.00)
         REDUCTION
         FEE EXAMINER                 2ND INTERIM                                                (1,534.50)
         REDUCTION
         TOTAL                                                    2,997.0                    1,138,972.76
                                                                 Blended Rate:         $381.39

              COMPENSATION BY PROJECT CATEGORY FOR THE FINAL PERIOD

       CODE PROJECT CATEGORY                                            Hours         Amount
         1  General (Case Administration); include non-specific          24.0         9,916.00
            internal meetings
         2     Communications with Creditors Committee or                    60.8    32,868.00
               Individual creditors
         3     Communications with Creditors Committee Counsel              150.4    90,493.00
         4     Retention / Fee Applications                                  79.7    48,541.50
         5     Executory Contracts/Leases                                    59.6    22,837.00
         6     Financings and Cash Collateral                               261.0   129,712.50
         7     Communication with Debtors or Debtors                        152.2    76,684.00
               Professionals
          8    Store Closing / GOB Sales                                    143.6    56,964.00
          9    Asset Sale and Related                                       126.3    57,937.50
         10    Business Analysis: Historic and Current                      420.7   153,465.00
         11    Motions and Objections                                       196.7    86,342.50
         12    Avoidance Actions Analysis                                   525.8   187,455.50
         13    Litigation (Other)                                           133.3    70,810.50
         14    Plan & Disclosure Statement                                    6.9     4,453.50
         15    Employee Related Issues                                       49.6    17,915.50
         16    Claims Administration and Objections                         188.5    72,598.00
         17    Investigation of Company (Asset Analysis and                  25.8    11,076.50
               Recovery)
         18    Tax Matters                                                  0.0         0.00
         19    Preparation of Reports to Creditors Committee              368.7   147,764.00
         20    Non-Working Travel                                          23.4     7,576.50
               TOTAL                                                    2,997.0 1,285,411.00



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        EXPENSES FOR THE FINAL PERIOD

Expense Category                           Amount
Local Meals                                  $34.70
Out-of-Town Travel                         4,825.91
Travel Meals                                 151.40
Lodging                                      596.80
Outside Services – Pacer Service Center      105.90
Subtotal                                   5,714.71
Fee Examiner Reduction - 1st Interim        (24.00)
Fee Examiner Reduction - 2nd Interim       (888.56)
TOTAL                                     $4,802.15




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                                                    )
TSA WD HOLDINGS, INC., et al.,1                     )    Case No. 16-10527 (MFW)
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                                  Debtors.          )    (Jointly Administered)
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          FOURTEENTH INTERIM AND FINAL FEE APPLICATION
 OF BDO CONSULTING, A DIVISION OF BDO USA, LLP AS FINANCIAL ADVISOR
TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ALLOWANCE OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR (I) THE
   INTERIM PERIOD FROM NOVEMBER 1, 2019 THROUGH AND INCLUDING
     JANUARY 13, 2021 AND (II) THE FINAL PERIOD FROM MARCH 13, 2016
              THROUGH AND INCLUDING JANUARY 13, 2021

         BDO Consulting, a Division of BDO USA, LLP (together with its wholly owned

subsidiaries, agents, independent contractors and employees, “BDO”) hereby submits its

fourteenth interim and final application (the “Final Application”) for approval of compensation

and reimbursement of expenses as Financial Advisor for the Official Committee of Unsecured

Creditors (the “Committee”) for (i) allowance and payment of fees of $7,087.50 and expenses of

$0.00 for services provided for the period from November 1, 2019 through January 13, 2021 (the

“Fourteenth Interim Period”) and (ii) final allowance and payment of fees of $1,143,018.82 and

expenses of $4,802.15 for services for the period March 13, 2016 through January 13, 2021 (the

“Final Period”).




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSA WD
Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); TSA WD, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift
Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-captioned
Debtors is located at 1050 West Hampden Avenue, Englewood, Colorado 80110.
                                I.      INTRODUCTORY STATEMENT
        1.       BDO is a leading full-service accounting, tax, and business advisory firm with over

55 offices and more than 6,000 partners and professional staff in the United States. BDO is a

United States firm of a global network of separate, independent member firms that operate in 150

countries and over 1,300 offices throughout the world.                 BDO has considerable experience

providing accounting, tax, auditing, and financial advisory services to businesses in a chapter 11,

and has been employed in numerous case under the Bankruptcy Code.

        2.       On March 2, 2016, (the “Petition Date”), the Debtors filed voluntary petitions with

the Court under chapter 11 of the Bankruptcy Code. The Debtors are operating their business and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Cases.

        3.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        4.       On March 10, 2016, the United States Trustee for Region 3 (the “U.S. Trustee”)

appointed the Committee to represent the interests of all unsecured creditors in these Cases

pursuant to Section 1102 of the Bankruptcy Code. The members appointed to the Committee are:

(i) TCW/Crescent Mezzanine Partners, (ii) New York Life Investment Management Mezzanine

Partners, LP, (iii) Nike, Inc., (iv) Asics America Corp., (v) GGP limited Partnership, and (vi)

Realty Income Corporation2. The Notice of Appointment of Committee of Unsecured Creditors

[Docket No. 262] was filed on March 10, 2016.

        5.       On March 13, 2016, the Committee held a meeting and, among other things, voted

to retain BDO as its financial advisor, subject to Court approval. The Committee also retained


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  A seventh member, Stitching Pensioenfonds ABP, was originally named to the Committee but resigned shortly after
the Committee was appointed.


                                                      -2-
Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) as its Investment Banker. BDO and Houlihan

Lokey met with members of the Committee and its advisors and counsel, to discuss the different

roles of each advisor and how best to ensure synergies, sharing of information and absence of

duplication. For the entire period, BDO and Houlihan Lokey adhered to this division of services,

as a result of which there has been little, if any duplication in the services provided by BDO and

Houlihan Lokey.

       6.     On April 20, 2016, the Application for and Order Authorizing the Retention of BDO

Consulting as Financial Advisor for the Official Committee of Unsecured Creditors Effective as

of March 13, 2016 was filed (the “Retention Application”) [Docket No. 1260]. On May 23, 2016,

an order, effective as of March 13, 2016, was duly signed and subsequently entered by this Court

authorizing the retention of BDO (the “Retention Order”) [Docket No. 2044].

       7.     This is BDO’s fourteenth interim fee application for Compensation for professional

services rendered and for reimbursement of actual and necessary costs and expenses incurred on

behalf of the Committee. BDO makes this Application pursuant to sections 328(a), 330 and

1103(a) of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”),

Rules 2014(a) and 2016 (b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 2014-1 of the Local Rules of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”) and the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals entered March 24, 2016 (the “Interim

Compensation Procedures”) [Docket No. 806], and any additional orders entered by the Court.

       8.     The Committee retained BDO to provide certain services as more fully set forth in

the Engagement Letter, including, but not limited to, the following:

                      a. Analyze the financial operations of the Debtors pre- and post-petition,
                         as necessary;



                                               -3-
b. Analyze the financial ramifications of any proposed transactions for
   which the Debtors seek Bankruptcy Court approval including, but not
   limited to, post-petition financing and the sale of all or a portion of the
   Debtors' assets;

c. Assist the Committee in its review of monthly statements of operations
   submitted by the Debtors;

d. Perform claims analysis for the Committee;

e. Assist the Committee in its evaluation of cash flow and/or other
   projections, including business plans prepared by the Debtors;

f. Scrutinize cash disbursements on an ongoing basis for the period
   subsequent to the commencement of these cases;

g. Perform forensic investigating services, as requested by the Committee
   and counsel, regarding pre-petition activities of the Debtors in order to
   identify potential causes of action, including investigating intercompany
   transfers, improvements in position, and fraudulent transfers;

h. Analyze transactions with insiders, related and/or affiliated companies;

i. Analyze transactions with the Debtors' financing institutions;

j. Attend meetings of creditors and conference calls with representatives
   of the creditor groups and their counsel;

k. Prepare certain valuation analyses of the Debtors' businesses and assets
   using various professionally accepted methodologies;

l. Evaluate financing proposals and alternatives proposed by the Debtors
   for debtor-in-possession financing, exit financing and capital raising
   supporting any plan of reorganization;

m. Assist the Committee in evaluating any tax issues that may arise, if
   necessary;

n. Assist counsel in preparing for any depositions and testimony, as well
   as prepare for and provide expert testimony at depositions and court
   hearings, as requested; and

o. Perform other- necessary services as the Committee or the Committee's
   counsel may request from time to time with respect to the financial,
   business and economic issues that may arise.



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            9.       On October 19, 2017, the Debtors filed their Plan of Reorganization and the

     Disclosure Statement related thereto [Docket No 3857]. On December 5, 2017, following the

     successful solicitation of the Plan of Reorganization and after notice and a hearing, the United

     States Bankruptcy Court for the District of Delaware entered an order (the “Confirmation Order”)

     confirming the Debtors' Plan of Reorganization [Docket No. 3925]. On December 18, 2017, the

     Effective Date of the Plan occurred, and the Plan was consummated.

            10.      In compliance with the Interim Compensation Order, BDO has submitted thirteen

     (13) interim applications relating to the Final Period.            Payment on account of the interim

     applications has been requested as follows:

                                                           Requested                          Approved
#      Date Filed;      Period Covered              Fees               Expenses        Fees              Expense
       Docket No.
1       08/08/16;      03/13/16 – 05/31/16          $ 713,409.50        $2,281.95     $708,797.50         $2,257.95
          2740
2       10/24/16;      06/01/16 – 08/31/16           402,797.50          3,344.16      401,263.00          2,455.60
          3116
3       03/17/17;      09/01/16 – 11/30/16            28,444.00             38.40       28,444.00            38.40
          3430
4       05/22/17;      12/01/16 – 03/31/17            65,589.00             36.70       65,589.00            36.70
          3622
5       08/15/17;      04/01/17 – 06/30/17            10,313.00              0.00       10,313.00              0.00
          3769
6       11/30/17;      07/01/17 – 10/31/17            15,647.00             13.50       15,647.00            13.50
          3915
7       02/13/18;      11/01/17 – 01/31/18              8,913.50             0.00         8,913.50             0.00
          4016
8       05/25/18;      02/01/18 – 04/30/18              6,211.00             0.00         6,211.00             0.00
          4129
9       09/21/18;      05/01/18 – 07/31/18              5,240.50             0.00         5,240.50             0.00
          4258
10      12/17/18;      08/31/18 – 10/31/18              4,859.00             0.00         4,859.00             0.00
          4370
11      06/14/19;      11/01/18 – 04/30/19              9,396.50             0.00         9,396.50             0.00
          4517
12      09/05/19;      05/01/19 – 07/31/19              4,204.00             0.00         4,204.00             0.00
          4585
13      01/02/20;      08/01/19 – 10/31/19              3,299.00             0.00         2,639.20             0.00
          4667
                     TOTAL                         $1,278,323.50        $5,714.71    $1,272,177.00        $4,802.15




                                                       -5-
         11.      Detailed statements itemizing the services rendered and expenses incurred by BDO

for the Fourteenth Interim Period are annexed hereto as Exhibits “A” through “B” and incorporated

herein by reference. Exhibit A contains a list of professionals, their position, hours incurred, and

standard billing rate charged for Fourteenth Interim Period. Exhibit B contains a full and complete

description of the services rendered by professional on a daily basis by project category for the

Fourteenth Interim Period. Exhibit C contains a Summary Cover Sheet of Fee Application.

Exhibit D contains a full and complete description of out-of-pocket expenses incurred related to

services rendered during the Fourteenth Interim Period.


                               II. SUMMARY OF SERVICES RENDERED
         12.      By this Final Application, BDO seeks (a) compensation for services rendered for

the Fourteenth Interim Period in the total amount of $7,087.50 and reimbursement of actual and

necessary expenses in the amount of $0.00; and (b) final approval of compensation for professional

services rendered for the Final Period in the amount of $1,143,018.82 and reimbursement of actual

and necessary expenses in the amount of $4,802.15, all as more fully set forth in this Final

Application. Except to the extent modified pursuant to the Retention Order, this Final Application

complies with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

         13.      During the Fourteenth Interim Period, BDO provided services to the Debtors, as set

forth below:

  CODE         PROJECT CATEGORY                                                Hours          Amount
    4.         Retention/Fee Application:
               Prepared BDO's monthly fee application for the period Aug
               2019 through Oct 2019 and BDO's 13th Interim Fee
               Application for period 8/1/19 - 10/31/19. Reviewed Fee
               Examiner's consolidated final report regarding 13th and 14th
               quarterly fee reports of Debtor and UCC professionals.
                                                                     Total:        1.0         $715.00


                                                  -6-
  CODE          PROJECT CATEGORY                                               Hours          Amount


    7.          Communications with Debtors or Debtors
                Professionals:
                Review emails from Debtors regarding financial results.
                                                                   Total:          1.8        1,227.00

    10.         Business Analysis: Historic and Current:
                Review updated monthly reports from Debtors.
                                                                     Total:        1.0          595.00

    11.         Motions and Objections:
                Reviewed relevant case filings related to administrative
                claims and miscellaneous other motions filed by Debtors or
                the Term Loan Agent, including Monthly Operating
                Reports.
                                                                   Total:          3.9        2,680.50

    16.         Claims Administration and Objections:
                Reviewed updated claims register filed by Debtors.
                                                                   Total:          2.8        1,870.00
                                                                 TOTAL:           10.5       $7,087.50


                                III.   COMPENSATION STANDARDS
          14.      Pursuant to the Retention Order, BDO was retained pursuant to sections 327(a) and

328(a) of the Bankruptcy Code. Pursuant to the Retention Order, the Services are subject to review

pursuant to section 330 of the Bankruptcy Code. Notwithstanding the forgoing, the U.S. Trustee

is entitled to review and object to any of BDO’s compensation and reimbursement requests under

the standards set forth in section 330 of the Bankruptcy Code.

          15.      Section 330(a)(3) of the Bankruptcy Code identifies factors that should be

considered when determining the amount of reasonable compensation. These factors are:




                                                   -7-
              A.      the time spent on such services;
              B.      the rates charged for such services;
              C.      whether the services were necessary to the administration of, or
                      beneficial at the time at which the service was rendered toward the
                      completion of, a case under this title;
              D.      whether the services were performed within a reasonable amount of
                      time commensurate with the complexity, importance, and nature of
                      the problem, issue, or task addressed;
              E.      with respect to a professional person, whether the person is board
                      certified or otherwise has demonstrated skill and experience in the
                      bankruptcy field; and
              F.      whether the compensation is reasonable based on customary
                      compensation charged by comparably skilled practitioner in case
                      other than cases under this title.

A.     Improvident Standard

       16.      BDO is not aware of any developments in the Debtor’s chapter 11 case which were

not capable of being known at time the Retention Order was entered.


B.     Time Spent

       17.    The size and complexity of the Debtors’ cases as well as the numerous and complex

issues required substantial broad-based accounting and financial advisory expertise to resolve the

issues. As a consequence, the demands of this case have been such that BDO’s highly skilled

insolvency professionals have devoted substantial time and effort to perform properly and

expeditiously the required accounting and advisory work.

       18.    During the Final Period, BDO professionals spent 2,997.0 hours performing

Services for the Committee or for the benefit of the Debtors and their estates. BDO’s time records

are recorded contemporaneously with the rendition of professional services. Exhibit B attached

hereto contains a full and complete description of the services rendered by each partner, managing

director, director, senior manager, manager, senior, and associate on a daily basis for the

Fourteenth Interim Period. BDO’s time records are maintained in one-tenth of an hour (0.10)

increments.


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C.       Rates Charged

         19.     BDO customarily bills their professionals at rates commensurate with the

experience of the person performing such services. The billing rates are the same for bankruptcy

engagements as well as all other accounting and advisory work performed by BDO. A detail of

each professional’s title and hours incurred is included in Exhibit A attached hereto and

incorporated herein by reference.

         20.     As more fully set forth in Retention Application; and approved by the Retention

Order, BDO and the Committee agreed BDO will be compensated on an hourly basis, plus

reimbursement of the actual and necessary expenses that BDO incurs, in accordance with the

below-outlined ordinary and customary rates in effect on the date the Services3:

                        Title                                              Rate Per Hour

                        Partners/Directors                                  $475 - $795
                        Directors/Sr. Managers                              $375 - $525
                        Managers/Vice Presidents                            $325 - $425
                        Seniors/Analysts                                    $200 - $350
                        Staff4                                              $150 - $225


         21.     Each duty and task performed by BDO has been performed by the professional most

qualified to render such Services.




3
  In the ordinary course of business BDO revises its standard hourly rates to reflect changes in responsibilities,
increased experience, and increased costs of doing business.
4
  BDO represents that this category does not include secretarial time or secretarial overtime and BDO will not include
in its fee applications any fees associated with these categories.


                                                         -9-
       22.     BDO’s professionals have delegated authority where appropriate to prevent

duplication of effort, and to utilize the services of professionals who bill at lower hourly rates as

much as possible.

       23.     Where more than one person attended a meeting, such attendance was not a

duplication of effort, but was necessary to adequately represent the interests of the Committee, and

to have the appropriate expertise available.


D.     Beneficial at the Time at Which the Service was Rendered

       24.     The Services BDO performed were the actual and necessary cost of the

administration of the Debtors’ estates and have enabled this chapter 11 case to proceed in a timely

fashion.


E.     Performed in a Reasonable Amount of Time and at Reasonable Cost

       25.     BDO is a nationally recognized consulting and financial advisory firm and was

selected by the Committee for its ability to provide the required services in a timely fashion and at

reasonable cost. In this case, the time frames were often short and required substantial effort by

BDO professionals to resolve complex issues in a timely manner.

       26.     The services in this case were performed in a reasonable amount of time given the

complex nature of the issues.


F.     BDO’s Professionals’ Skill and Experience

       27.     BDO’s professionals have a variety of certifications and have demonstrated

outstanding abilities in the accounting, consulting and advisory fields.




                                                -10-
G.     Fees Outside of Bankruptcy

       28.     BDO charges the same rates both within and outside of the bankruptcy context.

BDO’s rates are commensurate with other firms of comparable skill for the Services.


H.     Other Compensation Issues

       29.     Section 330(a)(6) of the Bankruptcy Code provides “Any compensation awarded

for the preparation of a fee application shall be based on the level and skill reasonably required to

prepare the application.”

       30.     During the Fourteenth Interim and Final Period, BDO did not bill anytime or fees

in the review of supporting data for preparation of the fee application.

       31.     There is no agreement or understanding between BDO and any other person, other

than the members, associates and employees of BDO, for the sharing of compensation received

for Services rendered in connection with this chapter 11 case.


                                      IV.     CONCLUSION
       32.     For all of the reasons set forth in this Fourteenth Interim and Final Application,

BDO respectfully submits that the services it has rendered and the disbursements it has incurred

on behalf of the Committee during these chapter 11 cases were not improvident and have been

reasonably expended in order to adequately represent and protect the interests of the Committee

in these chapter 11 cases. BDO submits further that it has provided such services in an economical

and efficient manner. Accordingly, BDO requests that the relief requested in this Final Application

be granted in all respects.

       WHEREFORE, BDO RESPECTFULLY REQUESTS that this Court (i) authorize

compensation in the amount of $7,087.50 incurred during the Fourteenth Interim Period from

November 1, 2019 through January 13, 2021; (ii) approve reimbursement of actual and necessary


                                                -11-
expenses in the amount of $0.00 requested during the Fourteenth Interim Period; (iii) grant final

approval of fees in the total amount of $1,143,018.82 as compensation for necessary services

rendered during the Final Period from March 13, 2016 through January 13, 2021; (iv) grant final

approval of actual and necessary expenses in the same period in the amount of $4,802.15, for a

total final allowance of $1,147,820.97; (v) authorize and direct the Debtors to pay BDO all

outstanding amounts owed; and (vi) grant such other and further relief as this Court may deem just

and proper.


Dated: January 14, 2021              BDO CONSULTING, A DIVISION OF BDO USA, LLP
       New York, NY
                                     /s/ David E. Berliner
                                     David E. Berliner
                                     100 Park Avenue
                                     New York, NY 10017
                                     Tel: (212) 885-8000
                                     Fax: (212) 697-1299

                                     Financial Advisor for the Committee




                                              -12-
                  EXHIBIT A
                         TSAWD HOLDINGS, INC., et al
                      Time Summary for the 14th Interim Period
                     November 1, 2019 through January 13, 2021

Name             Title                      Hours            Rate    Amount
David Berliner   Partner                      7.0         $715.00   $5,005.00
Michele          Partner                      3.5          595.00    2,082.50
Michaelis
                               Total:         10.5                  $7,087.50
EXHIBIT B
                                                           TSAWD HOLDINGS, INC.                                                                Exhibit "B"
                                                      RECAP OF PROFESSIONAL SERVICES
                                                     November 1, 2019 through January 13, 2021


Code     Date     Name Description                                                                                           Hours   Rate       Amount
 4     11/14/19   D.B. Reviewed BDO's monthly fee application for period 8/2/19 - 10/31/19.                                    0.3   $715.00     $214.50
 4     12/04/19   D.B. Reviewed BDO 13th Interim Fee Application for period 8/1/19 - 10/31/19.                                 0.1    715.00       71.50
 4     01/07/20   D.B. Reviewed Fee Examiner's consolidated final report regarding 13th and 14th quarterly fee reports of      0.1    715.00       71.50
                       Debtor and UCC professionals.
 4     03/19/20   D.B. Reviewed 32nd BDO fee application for period 11/1/19 - 1/31/20.                                         0.3    715.00       214.50
 4     04/14/20   D.B. Prepared BDO's 14th interim fee application for period Nov. 1, 2019 to Jan. 31, 2020.                   0.2    715.00       143.00
 7     11/06/19   D.B. Reviewed e-mail from Doug Garrett regarding actual vs. forecast results for Oct. 2019.                  0.1    715.00        71.50
 7     11/07/19   M.M. Reviewed e-mail update from Doug Garrett regarding Oct. 2019 actual results.                            0.1    595.00        59.50
 7     12/03/19   D.B. Reviewed e-mail update from Doug Garrett in actual vs. forecast results for Nov. 2019.                  0.1    715.00        71.50
 7     12/04/19   M.M. Reviewed e-mail update from Doug Garrett regarding Nov. 2019 actual results.                            0.1    595.00        59.50
 7     01/08/20   D.B. Reviewed e-mail from Doug Garrett regarding forecast vs. actual results for December 2019.              0.1    715.00        71.50

 7     01/09/20   M.M.   Reviewed e-mail update from Doug Garrett regarding Dec. 2019 actual results.                          0.1    595.00        59.50
 7     02/05/20   D.B.   Reviewed e-mail from Doug Garrett regarding update on January results.                                0.1    715.00        71.50
 7     04/09/20   D.B.   Reviewed email from Douglas Garrett regarding March actual vs. budget results.                        0.1    715.00        71.50
 7     05/07/20   D.B.   Reviewed email from Doug Garrett regarding April 2020 actual vs. budget results.                      0.1    715.00        71.50
 7     07/08/20   D.B.   Reviewed email from Doug Garrett regarding June 2020 actual vs. budget results.                       0.1    715.00        71.50
 7     08/05/20   D.B.   Reviewed email from Doug Garrett regarding July 2020 actual vs. budget results.                       0.1    715.00        71.50
 7     09/02/20   D.B.   Reviewed email from Doug Garrett regarding August 2020 actual vs. budget results.                     0.1    715.00        71.50
 7     10/09/20   D.B.   Reviewed email from Doug Garrett regarding Sept 2020 actual vs. budget results.                       0.1    715.00        71.50
 7     11/05/20   D.B.   Reviewed email from Doug Garrett regarding Oct 2020 actual vs. budget results.                        0.1    715.00        71.50
 7     12/03/20   D.B.   Reviewed email from Doug Garrett regarding Nov 2020 actual vs. budget results and case update.        0.1    715.00        71.50

 7     01/07/21   D.B.   Reviewed email from Doug Garrett regarding Dec. 2020 actual vs. budget results and case updates.      0.1    715.00        71.50

  7    01/07/21   M.M.   Reviewed current financial update.                                                                    0.2    595.00       119.00
 10    03/10/20   M.M.   Reviewed updated monthly report from Doug Garrett.                                                    0.2    595.00       119.00
 10    08/17/20   M.M.   Reviewed current monthly update from Debtors.                                                         0.2    595.00       119.00
 10    09/03/20   M.M.   Reviewed current monthly update from Debtors.                                                         0.2    595.00       119.00
 10    10/08/20   M.M.   Reviewed current monthly update from Debtors.                                                         0.2    595.00       119.00
 10    11/08/20   M.M.   Reviewed October update from Debtors.                                                                 0.2    595.00       119.00
 11    11/18/19   D.B.   Reviewed Omnibus order approving 13th interim fee applications of Debtor professionals.               0.1    715.00        71.50
 11    11/25/19   D.B.   Reviewed Notice of Agenda of Matters scheduled for hearing on 11/26.                                  0.1    715.00        71.50
 11    11/26/19   D.B.   Reviewed Monthly Operating Report for period 10/6/19 - 11/2/19.                                       0.1    715.00        71.50
 11    11/27/19   M.M.   Reviewed MOR for period 10/6/19 – 11/2/19.                                                            0.2    595.00       119.00
 11    12/16/19   D.B.   Reviewed 43rd monthly appliction of Gibson Dunn for interim period 9/1/19 - 11/30/19.                 0.1    715.00        71.50
 11    12/16/19   D.B.   Reviewed 14th Interim Quarterly Fee reports of certain Debtor Proffesionals (Young Conaway and        0.1    715.00        71.50
                         Gibson Dunn).
 11    12/24/19   D.B.   Reviewed notice of filing of Amendment No. 9 to Amended Settlement Agreement among Debtors,           0.2    715.00       143.00
                         UCC and Term Loan Agreement, including wind-down budget for period Jan through June 2020.

 11    12/24/19   D.B.   Reviewed Monthly Operating Report for period 11/3/19 - 11/30/19.                                      0.1    715.00        71.50
 11    12/24/19   M.M.   Reviewed filing of Amendment 9 to Amended Settlement Agreement.                                       0.3    595.00       178.50
 11    12/24/19   M.M.   Reviewed MOR for period 11/3/19 – 11/30/19.                                                           0.2    595.00       119.00
 11    01/27/20   D.B.   Reviewed MOR for period 12/1/19 – 1/4/20.                                                             0.1    715.00        71.50
 11    01/28/20   M.M.   Reviewed MOR for period 12/1/19 – 1/4/20.                                                             0.2    595.00       119.00
 11    02/19/20   D.B.   Reviewed Debtor's motion to extend the period in which the Debtors may reverse actions.               0.1    715.00        71.50
 11    02/21/20   D.B.   Reviewed MOR for period 1/5/20 - 2/1/20.                                                              0.1    715.00        71.50
 11    02/21/20   D.B.   Reviewed Notice of Agenda of Matters Schedule for Hearing 2/25/20 and other recent court filings.     0.1    715.00        71.50

 11    03/25/20   D.B.   Reviewed notice of agenda of matters for hearing on 3/30/20                                           0.1    715.00        71.50
 11    03/25/20   D.B.   Reviewed Monthly Operating Report for Period Feb 2, 2020 Through Feb 29, 2020.                        0.2    715.00       143.00
 11    04/27/20   D.B.   Reviewed Monthly Operating Report for Period March 1, 2020 through April 4, 2020.                     0.1    715.00        71.50
 11    05/27/20   D.B.   Reviewed Monthly Operating Report for Period April 5, 2020 through May 2, 2020.                       0.1    715.00        71.50
 11    06/30/20   D.B.   Reviewed amendment No. 10 to Amended Settlement Agreement with Debtors, UCC and Term                  0.1    715.00        71.50
                         Loan Agent.

                                                                           1
                                                         TSAWD HOLDINGS, INC.                                                            Exhibit "B"
                                                    RECAP OF PROFESSIONAL SERVICES
                                                   November 1, 2019 through January 13, 2021


Code     Date     Name Description                                                                                    Hours    Rate       Amount
 11    06/30/20   D.B. Review Monthly Operating Report for Period May 3, 2020 through May 30, 2020.                     0.3     715.00      214.50
 11    07/08/20   D.B. Reviewed agenda of matters scheduled for 7/9/20 court hearing.                                   0.1     715.00       71.50
 11    07/27/20   D.B. Reviewed Monthly Operating Report for Period May 31, 2020 through July 4, 2020.                  0.1     715.00       71.50
 11    08/28/20   D.B. Reviewed Monthly Operating Report for Period July 5, 2020 through Aug 1, 2020.                   0.2     715.00      143.00
 11    09/29/20   D.B. Reviewed Monthly Operating Report for Period Aug 1, 2020 through Aug 29, 2020.                   0.1     715.00       71.50
 11    11/23/20   D.B. Reviewed Monthly Operating Report for Period Oct 4, 2020 through Oct 31, 2020.                   0.1     715.00       71.50
 11    11/25/20   D.B. Reviewed Debtor Motion to Dismiss Chapter 11 case and Establish Procedures for Final Fee         0.3     715.00      214.50
                       Applications.
 16    01/13/20   D.B. Reviewed claims register as of 1/9/20 filed by KCC.                                              0.6     715.00       429.00
 16    01/15/20   M.M. Reviewed claims register as of 1/9/20 filed by KCC.                                              1.1     595.00       654.50
 16    07/14/20   D.B. Reviewed claims register as of 7/14/20 filed by KCC.                                             0.6     715.00       429.00
 16    10/07/20   D.B. Reviewed claims register as of 10/6/20 filed by KCC.                                             0.5     715.00       357.50
                                                                                                             TOTAL:    10.5              $7,087.50


                         SUMMARY BY PROFESSIONAL:
                  Initials Name                                                                                       Hours       Rate     Amount
                    D.B. DAVID BERLINER                                                                                 7.0    $715.00     $5,005.00
                   M.M. MICHELE MICHAELIS                                                                               3.5     595.00      2,082.50
                                                                                                          TOTAL:       10.5                7,087.50

                                                                                                      Blended Rate            $675.00

                         SUMMARY BY PROJECT CATEGORY:
                  Code   Project Category                                                                             Hours                Amount
                    4    Retention / Fee Applications                                                                   1.0    $715.00      $715.00
                    7    Communication with Debtors or Debtors Professionals                                            1.8     681.67     1,227.00
                   10    Business Analysis: Historic and Current                                                        1.0     595.00       595.00
                   11    Motions and Objections                                                                         3.9     687.31     2,680.50
                   16    Claims Administration and Objections                                                           2.8     667.86     1,870.00
                                                                                                          TOTAL:       10.5               $7,087.50




                                                                         2
EXHIBIT C
                                  EXHIBIT C
                     SUMMARY COVER SHEET OF FEE APPLICATION

                                                             BDO Consulting,
Name of Applicant:
                                                             a Division of BDO USA, LLP
                                                             The Official Committee of Unsecured
Name of client:
                                                             Creditors
Time period covered by this application:                     March 13, 2016 – January 10, 2021

Total compensation sought this period:                       $1,143,018.82

Total expenses sought this period:                           $4,802.15

Petition date:                                               March 2, 2016

Retention date:                                              Nunc Pro Tunc to March 13, 2016

Date of order approving employment:                          May 23, 2016

Total fees approved by interim order to date:                $1,140,733.47

Total expenses approved by interim order to date:            $4,802.15

Total allowed fees paid to date:                             $1,138,341.72

Total allowed expenses paid to date:                         $4,802.15

Blended rate in this application for all timekeepers:        $381.39
Fees sought in this application already paid pursuant
to a monthly compensation order but not yet                  $0.00
allowed:
Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet         $0.00
allowed:
Number of professionals included in this application:        15
If applicable, number of professionals in this application
                                                             N/A
not included in staffing plan approved by client:
If applicable, difference between fees budgeted and
                                                             N/A
compensation sought for this period:
Number of professionals billing fewer than 15 hours to
                                                             1
the case during this period
Are any rates higher than those approved or disclosed at
retention? If yes, calculate and disclose the total
                                                             Yes, normal annual rate increases
compensation sought in this application using the rates
originally disclosed in the retention application
EXHIBIT D




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                     TSAWD HOLDINGS, INC., et al
                           Schedule of Expenses
                  November 1, 2019 through January 31, 2021

 1.   PHOTOCOPYING
      a.  Internal
      b. External

 2.   TELECOMMUNICATIONS
      a.  Toll Charges
      b. Facsimile
      c.  Out-of-State toll charges

 3.   COURIER, FRIEGHT AND POSTAL SERVICES
      For overnight and hand delivery to Counsel
      and Committee members

 4.   COURT REPORTER AND TRANSCRIPTS

 5.   TECHNOLOGY SERVICES

 6.   OUT-OF-TOWN TRAVEL
       a. Transportation
       b. Lodging
       c.  Meals

 7.   OUTSIDE SERVICES

 8.   LOCAL MEALS

 9.   LOCAL TRANSPORTATION, TOLLS, MILEAGE
      AND PARKING – for cabs to/from meetings, car service
      for employees working after 8:00 p.m. and local mileage
      using personal auto

10.   MISCELLANEOUS

      TOTAL                                                     $0.00
DECLARATION
                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

    In re:                                                             Chapter 11

    TSAWD HOLDINGS, INC., et al., 1                                    Case No. 16-10527 (MFW)

                                     Debtors.                          (Jointly Administered)



          DECLARATION OF DAVID E. BERLINER IN SUPPORT OF THE
           FOURTEENTH INTERIM AND FINAL FEE APPLICATION OF
    BDO CONSULTING, A DIVISION OF BDO USA, LLP AS FINANCIAL ADVISOR
   TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ALLOWANCE
   OF COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR
(I) THE INTERIM PERIOD FROM NOVEMBER 1, 2019 THROUGH AND INCLUDING
      JANUARY 13, 2021 AND (II) THE FINAL PERIOD FROM MARCH 13, 2016
               THROUGH AND INCLUDING JANUARY 13, 2021

I, DAVID E. BERLINER, declare as follows:

       1. I am a partner of the firm of BDO Consulting (“BDO”), a Division of BDO USA, LLP a

             leading full-service accounting, tax, and business advisory firm with over 55 offices and

             more than 6,000 partners and professional staff in the United States. BDO is a United

             States firm of a global network of separate independent member firms that operate in 150

             countries and over 1,300 offices throughout the world.

2.           I have reviewed BDO’s Fourteenth Interim and Final Application for Interim

             Compensation for Services Rendered and Reimbursement of Expenses of BDO as

             Financial Advisor for the Official Committee of Unsecured Creditors (the “Committee”)




1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
Holdings, Inc. f/k/a Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); The Sports Authority,
Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc.
(5664). The headquarters for the above-captioned Debtors is located at 1050 West Hampden Avenue, Englewood,
Colorado 80110.
  (the “Application”) for the period March 13, 2016 to January 13, 2021 (the “Final Period”)

  and this declaration is submitted in support of the Final Application.

3. I have reviewed Delaware Bankruptcy Local Rule 2016-2 and submit that the Application

   substantially complies with such Rule.

4. To the best of my knowledge, To the best of my knowledge, information and belief

   formed after reasonable inquiry, the Application complies with the Revised United States

   Trustees Guidelines issued June 11, 2013, by the U.S. Department of Justice (the “UST

   Guidelines”).

5. In providing a reimbursable outside service expense, BDO does not make a profit on that

   service.

6. In charging for a particular service, BDO does not include the amortization of the cost of

   any investment equipment or capital outlay.

7. In seeking reimbursement for third party services, BDO requests reimbursement only for

   the amount billed to BDO by the third-party.

8. To the best of my knowledge, information and belief formed after reasonable inquiry, the

   fees and disbursements sought fall within the UST Guidelines, except as specifically

   noted herein and in the Final Application. The fees and disbursements sought are billed

   at rates and in accordance with practices customarily employed by BDO and generally

   accepted by BDO’s clients.

9. A summary of the fees and expenses incurred by BDO in this chapter 11 case, during the

   Fourteenth Interim Period as well as copies of the billing records maintained in the

   ordinary course of business by BDO are provided in Exhibit “A” and Exhibit “B” annexed

   to the Fourteenth Interim and Final Application.




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     10. The following is a summary of the total fees and expenses incurred by BDO during the

         Final Period:

                           FEES                               $1,143,018.82

                           EXPENSES                               $4,802.15
                           TOTAL                              $1,147,820.97

     11. To date, BDO has received from, or on behalf of, the Debtors $1,143,143.87 for

         reimbursement of fees and expenses in these chapter 11 cases as financial advisor for the

         Committee. None of the compensation to be paid to BDO, from or on behalf of the

         Debtors, will be divided or shared with any other person other than the members,

         associates and employees of BDO.

I declare that the foregoing is true and correct.

                                                          Executed on January 14, 2021
                                                          at New York, NY

                                                                /s/ David E. Berliner
                                                          David E. Berliner




                                                    -3-
PROPOSED FORM OF ORDER
                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

    In re:                                                             Chapter 11

    TSAWD HOLDINGS, INC., et al., 1                                    Case No. 16-10527 (MFW)

                                     Debtors.                          (Jointly Administered)

                                                                       Related Docket No. ____
  ORDER GRANTING FOURTEENTH INTERIM AND FINAL FEE APPLICATION
 OF BDO CONSULTING, A DIVISION OF BDO USA, LLP AS FINANCIAL ADVISOR
TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ALLOWANCE OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR (I) THE
   INTERIM PERIOD FROM NOVEMBER 1, 2019 THROUGH AND INCLUDING
     JANUARY 13, 2021 AND (II) THE FINAL PERIOD FROM MARCH 13, 2016
              THROUGH AND INCLUDING JANUARY 13, 2021

             BDO Consulting, a Division of BDO USA, LLP (together with its wholly owned

subsidiaries, agents, independent contractors and employees, “BDO”) financial advisor for the

Committee in the above-captioned cases, filed its Fourteenth Interim and Final Application for

Compensation and for Reimbursement of Expenses Incurred for (i) the Interim Period from

November 1, 2019 Through and Including January 13, 2021 and (ii) the Final Period from March

13, 2016 through and Including January 13, 2021 (the “Final Application”). The Court has

reviewed the Final Application and finds that: (a) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Final Application, and any hearing on the

Final Application, was adequate under the circumstances; and (c) all persons with standing have

been afforded the opportunity to be heard on the Final Application. Accordingly, it is hereby

             ORDERED that the Final Application is GRANTED, on a final basis. The Debtors in the


1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
Holdings, Inc. f/k/a Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); The Sports Authority,
Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc.
(5664). The headquarters for the above-captioned Debtors is located at 1050 West Hampden Avenue, Englewood,
Colorado 80110.
      above cases shall pay to BDO the total amount of $1,147,820.97 consisting of

      $1,143,018.82 as compensation for necessary professional services rendered, the sum of

      $4,802.15 for actual and necessary expenses incurred by BDO for the period March 13,

      2016 through January 13, 2021, less any amounts previously paid in connection with the

      monthly fee applications.


Dated: ______________, 2021
                                         HONORABLE MARY F. WALRATH
                                         UNITED STATES BANKRUPTCY JUDGE




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